
982 So.2d 1229 (2008)
David HERNANDEZ, Appellant,
v.
The STATE of Florida, Appellee.
No. 3D08-961.
District Court of Appeal of Florida, Third District.
May 28, 2008.
David Hernandez, in proper person.
Bill McCollum, Attorney General, for appellee.
Before RAMIREZ, SHEPHERD, and ROTHENBERG, JJ.
PER CURIAM.
We dismiss this appeal, as orders denying motions to mitigate brought pursuant to Florida Rule of Criminal Procedure 3.800(c) are not appealable. See Banks v. State, 970 So.2d 401 (Fla. 3d DCA 2007). Dismissed.
